Case 1:14-ml-02570-RLY-TAB Document 22499-1 Filed 08/09/22 Page 1 of 7 PageID #:
                                  132721




                        EXHIBIT A
Case 1:14-ml-02570-RLY-TAB Document 22499-1 Filed 08/09/22 Page 2 of 7 PageID #:
                                  132722



                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 IN RE: COOK MEDICAL, INC, IVC FILTERS
                                                              Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND
                                                                                MDL No. 2570
 PRODUCTS LIABILITY LITIGATION

 This Document Relates to Plaintiff(s)



 Leonard Holling

  Civil Case # 1:22-cv-06787-RLY-TAB


                      SECOND $0(1'('SHORT FORM COMPLAINT


        COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

 named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document

 213). Plaintiff(s) further show the court as follows:

        1. Plaintiff/Deceased Party:

             Leonard Holling

        2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

             claim:

             N/A

        3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

             N/A

        4.   Plaintiff’s/Deceased Party’s state of residence at the time of implant:

             IL




                                                   1
Case 1:14-ml-02570-RLY-TAB Document 22499-1 Filed 08/09/22 Page 3 of 7 PageID #:
                                  132723



       5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

          IL

       6. Plaintiff’s/Deceased Party’s current state of residence:

          IL

       7. District Court and Division in which venue would be proper absent direct filing:

          United States District Court, Northern District of Illinois, Eastern Division

       8. Defendants (Check Defendants against whom Complaint is made):

                      Cook Incorporated

                      Cook Medical LLC

                      William Cook Europe ApS

       9. Basis of Jurisdiction:

                      Diversity of Citizenship

                      Other:

          a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:
           For purposes of remand and trial, venue is proper pursuant to 28 U.S.C. §1391 in the
           federal judicial district of each Plaintiff’s state of residence. A substantial amount of
           activity giving rise to the claims occurred in this District, and Defendants may be
           found within this District. Therefore, venue is proper in this jurisdiction under 28
           U.S.C. §1391.

          b. Other allegations of jurisdiction and venue:




                                                 2
Case 1:14-ml-02570-RLY-TAB Document 22499-1 Filed 08/09/22 Page 4 of 7 PageID #:
                                  132724



       10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

          (Check applicable Inferior Vena Cava Filters):

                      Günther Tulip® Vena Cava Filter

                      Cook Celect® Vena Cava Filter

                      Gunther Tulip Mreye

                      Cook Celect Platinum

                      Other:


       11. Date of Implantation as to each product:

           2004



       12. Hospital(s) where Plaintiff was implanted (including City and State):

           AMITA Health Alexian Brothers Medical Center

           Elk Grove, IL

       13. Implanting Physician(s):

           Unknown




       14. Counts in the Master Complaint brought by Plaintiff(s):

                      Count I:        Strict Products Liability – Failure to Warn

                      Count II:       Strict Products Liability – Design Defect

                      Count III:      Negligence

                      Count IV:       Negligence Per Se




                                                3
Case 1:14-ml-02570-RLY-TAB Document 22499-1 Filed 08/09/22 Page 5 of 7 PageID #:
                                  132725



                         Count V:      Breach of Express Warranty

                         Count VI:     Breach of Implied Warranty

                         Count VII: Violations of Applicable              IL               (insert State)

                         Law Prohibiting Consumer Fraud and Unfair and Deceptive Trade Practices

                         Count VIII:   Loss of Consortium

                         Count IX:     Wrongful Death

                         Count X:      Survival

                         Count XI:     Punitive Damages

                         Other:

                         SOHDVHVWDWHWKHIDFWVVXSSRUWLQJthis Count in the space, immediately below)

                         Other:        Fraudulent Concealment

                         SOHDVHVWDWHWKHIDFWVVXSSRUWLQJthis Count in the space, immediately below)

               Additional facts supporting Counts I, III, V, VI, VII, XI and Fraudulent

               Concealment are included in Exhibit "A" which is incorporated by reference

               herein.




       15. Attorney(s) for Plaintiff(s):
           Ben C. Martin

           Thomas Wm. Arbon




                                                  4
Case 1:14-ml-02570-RLY-TAB Document 22499-1 Filed 08/09/22 Page 6 of 7 PageID #:
                                  132726



       1. Address and bar information for Attorney for Plaintiff(s):

           3141 Hood Street, Suite 600, Dallas, TX 75219

          Ben C. Martin, Bar No. 13052400

          Thomas Wm. Arbon, Bar No. 01284275



 RESPECTFULLY SUBMITTED this 9th                day of ______________
                                                        August        ________
                                                                       2022    .


                                                    /s/ Ben C. Martin
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                                                    Attorney for Plaintiff




                                                5
Case 1:14-ml-02570-RLY-TAB Document 22499-1 Filed 08/09/22 Page 7 of 7 PageID #:
                                  132727




                                CERTIFICATE OF SERVICE
                                August 9, 2022
        I hereby certify that on _____________, I electronically filed the foregoing document with
 the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
 CM/ECF participants registered to receive service in this MDL.



                                                     /s/ Ben C. Martin
                                                     Ben C. Martin




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